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                            U N ITED STA TES D ISTR ICT CO UR T
                            SO UTH ER N D ISTR ICT O F FLO RID A
  SEALED                    CA SE NO .  -


                                       18U.S.C.j1956(h)
                                       18U.S.C.j1956(a)(1)(B)(i)
                                       18U.S.C.j982
 UN ITED STA TES O F AM ERIC A
                                                                        FILED BY                        D C.
                                                                                                         .

 V.

 R AYM O N D O DIG IE UA D IA LE,                                               MA2 222212
       a/k/a RM ike R olandr''                                                  s'œ vEN M.I
                                                                                          -ARI
                                                                                             MORE
                                                                                cLeIRKu.s.Dls-r.c'T
                                                                               s.D.oF Ft.A I=r I-AUD.
                    Defendant.                     )
                                                   )
                                            IN D IC TM EN T

        The Grand Jury charges that:

                                  G EN ER AL A LLEG A TIO NS

        A tal1tim esm aterialto thisIndictm ent:

               ttRansom w are''refers to a type ofm aliciouscom putersoRw are thatextortsm oney

 from victim s. Generally,once ransom w are infects a victim 's com puter,itççlocks''the com puter

 so that the com puter's users cannot access any data. The ransom w are then often displays a

 m essageon the screen,referred to asa Etsplash screen,''w ith instnzctionsforpaying a ransom . The

 instructionsprom ise,som etim es falsely,thatusers w illregain accessto their data upon paym ent

 ofthe ransom .

               Reveton w as a type ofransom w are thatinfected com putersthroughoutthe United

 Statesand othercotm tries. W hen Reveton infected a victim 'scom puter,itwould display a splash

 screen thatincluded the logo ofa 1aw enforcem entorganization and a m essage falsely inform ing

 the victim that the 1aw enforcem ent organization had found illegal m aterial on the infected
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 com puter. The Reveton ransom w are splash screen w ould directthevictim to pay a tçfine''in order

 to regain access to the com puter and its data. Upon paym ent, Reveton nevertheless would

 som etim esnotallow the victim to regain thataccess.

               GreenDot M oneypaks w ere financialinstrum ents loadable by cash at designated

 physical locations such as drug stores throughout the U nited States. Reveton's splash screen

 included instructions for victim s on how to obtain M oneypaks and a form for subm itting a

 M oneypak accountnum beraspaym entoftheir 'tfine.''

               Liberty Reserve w as an online paym entprocessor thatoffered a digitalcurrency

 service through w hich m em bers could convertdeposited funds to çt iberty Reserve D ollars''in

 orderto kansferm oney to others.

                                          C O U NT 1
                          Conspiracy to C om m itM oney Laundering
                                      (18U.S.C.j1956(h))
        5.     The G eneral A llegations section of this Indictm ent is re-alleged and fully

 incorporated herein by reference.

               From in oraboutatleastOctober2012,and continuing through atleastM arch 27,

 2013,the exactdatesbeing unknown to the Grand Jury,in M iam i-D ade and Brow ard Counties,

 in the Southern D istrictofFlorida,and elsewhere,the defendant,

                               R AY M O ND O D IG IE U A DIA LE,
                                     a/k/a GM ike R olandr''

 did willfully,thatis,with the intentto furtherthe objectsofthe conspiracy,and knowingly
 com bine,conspire,confederate,and agree w ith other personsknown and unknow n to the Grand

 Jury to com m itoffenses against the U nited States,in violation ofTitle 18,U nited States Code,

 Section 1956,thatis,to know ingly conductand attem ptto conductfinancialtransactionsaffecting

 interstate com m erce,w hich transactions involved the proceeds of specified unlaw ful activity,
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 knowing thatthe transactionsw ere designed in whole orin partto concealand disguise thenature,

 location,source,ownership,and controloftheproceedsofsuch specified unlawfulactivity,and

 thatwhile conducting and attem pting to condud such financialtransactions,ltnew thattheproperty

 involved in the financialtransactionsrepresented theproceedsofsome form ofunlawfulactivity,

 inviolationofTitle18,United StatesCode,Section 1956(a)(1)(B)(i).
        Itisfurtheralleged thatthe specified unlaw fulactivity w as com puterfraud,in violation of

 Title18,UnitedStatesCode,Section 1030(a)(7).
                               O BJEC T O F TH E C O N SPIM CY

                ltwasthe objectofthe conspiracy forthe defendantand hisco-conspiratorsto
 unlaw fully endch them selvesand others,to hide illegalproceeds,and to further the fraud schem e

 by,am ong otherthings,w ithdraw ing,transferring,and conducting tinancialtransactionsinvolving

 fraudulently-obtained fundsthrough tinancialinstitutions in the United Statesand abroad.

                                    M A N NE R A N D M EAN S

        The naanner and nAeans by w hich the defendant and his co-conspirators sought to

 accomplishtheobjectsandpurposeoftheconspiracyincluded,amongothers,thefollowing:
        8.      Co-conspirator 1 distributed ransom w are,including the variantofransom w are

 known asReveton.

        9.      Through ransom ware,Co-conspirator 1 accum ulated victim s'ransom paym entson

 GreenDotM oneypaks.

                UA DIA LE obtained prepaid debitcard accounts. U sing the online m onikerGiM ike

 Roland,''U A DIAI',E would send Co-conspirator 1 the account num bers for those prepaid debit

 cards via an online m essaging platform .
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        11.      U sing GreenD ot'sonline transfersystem ,Co-conspirator 1w ould transfervictim s'

 ransom ware paym ents from GreenDot M oneypaks to the prepaid debit card account num bers

 provided by UA DIAI,E .O nce those fundsw ere loaded on theprepaid debitcards,Co-conspirator

 1(usingtheonlinemonikerCEKING'')wouldmessageUADIALE thelastfourdigitsoftheloaded
 prepaid debitcards and the am ountloaded on each. Co-conspirator 1 would instructUA D IAIIUE

 to send a portion ofthose fundsback to Co-conspirator 1through Liberty R eserve.

        12.      UA D IAI,E w ould then w ithdraw the loaded ransom w are paym ents from the

 prepaid debitcardsas cash atautom ated-teller-m achine orpoint-of-sale locations in the Southern

 D istrictofFlorida and elsew here.

                 Aûerw ithdraw ing the m oney,UA D IAI,E would send aportion ofthe ransom w are

 paym entsto Co-conspirator 1 through Liberty R eserve from one orm ore com puterslocated in the

 Southern DistrictofFlorida and elsew here. The portion UA D IA LE sentthrough Liberty Reserve

 was valued ata dollaram ountequalto an agreed-upon percentage of the ransom w are paym ents.

 UA DIAT,E would keep the rem ainder of the ransom w are paym ents for exchange fees and as a

 com m ission.

        14.      W hen a tinancial institm ion froze or closed a prepaid debit card account for

 suspected fraudulentactivity,Co-conspirator 1w ould tellU A DIAI,E thatthe transferoffunds to

 thataccounthad failed,and U AD IALE w ould obtain and m essage to Co-conspirator 1 a different

 prepaid debitcard accountto use in the schem e.

        Al1inviolationofTitle 18,UnitedStatesCode,Section 1956(h).




                                               4
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                                           CO U N T 2
                                       M oney L aundering
                                  (18U.S.C.j1956(a)(1)(B)(i))
        15.    TheGeneralAllegationssection ofthisIndictm entisre-alleged and incop orated

 by reference as iffully setforth herein.

        16.    O n or aboutM arch 27,2013,in M iam i-D ade and Brow ard Counties,in the

  SouthenlDistrictofFlorida,and elsewhere,the defendant,

                               M Y M O N D O D IG IE UA D IA LE,
                                    a/k/a GM ike R oland,''

 did know ingly conduct and attem pt to conduct a financial transaction affecting interstate

 comm erce,speciticallythetransferofapproximately $840 worthofLiberty Reservedollarsonthe

 Liberty Reserve digital currency platform from an account in the nam e of %tM ike Roland''and

 having a ntlm ber ending in -0836 to an account having a num ber ending in -2547, which

 transaction involved the proceeds of specified unlaw fulactivity,specifically com puter fraud,in

 violation ofTitle18,UnitedStatesCode,Section 1030(a)(7),knowingthatthepropertyinvolved
 in the financial transaction represented the proceeds of som e form of unlaw ful activity,and

 know ing thatthe transaction wasdesigned in w hole orin partto concealand disguise the nature,

 location,sotlrce,ow nership,and controlofthe proceedsofspecified unlaw fulactivity.

        Al1inviolationofTitle18,UnitedStatesCode,Sections1956(a)(1)(B)(i)and2.
                               FO R FEITUR E A LLEG A TIO N S
                                        (18U.S.C.j982)
               Pursuantto Title 18,United States Code,Section 982(a)(1),upon conviction of
 Count 1 or 2 ofthis lndictm ent,an offense in violation ofTitle 18,U nited States Code,Section

  1956,the defendant,R AY M O N D O D IG IE U A DIALE,a/k/a GM ike R olandr''shallforfeitto
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    the United Statesany property,realorpersonal,involved in such offense,orany property traceable

    to such property. Theproperty to be forfeited includesbutisnotlim ited to the follow ing:


           Approximately One Hundred Thirty Thousand Dollars ($130,000.00) in U.S.
           currency, in that such sum represents property involved in or traceable to
           violationts)ofmoneylaundering.
           2.     If any of the forfeitable property described in the forfeiture section of this

    Indictm ent,as a resultofany actorom ission ofthe defendant,

           (a)    cannotbelocatedupontheexerciseofduediligence;
           (b)    hasbeentransferredorsoldto,ordepositedwith,athirdparty;
           (c)    hasbeenplacedbeyondthejurisdictionoftheCourt;
           (d)    hasbeensubstantiallydiminishedin value;or
           (e)    hasbeen commingled with otherproperty which cannotbe subdivided without
                  difficulty;

    itisthe intentoftheUnited States,pursuantto Title21,United StatesCode,Section 8531),as
    incorporated by Title 18,United States Code,Section 982(b),to seek forfeittlre ofany other
    property ofthe defendantup to the value ofthe above forfeitable property.

                                               A TRUE BILL



                                               FO REPER      N



    BEN JA M IN G .GR EEN BERG
    U NITED STA TES A TTORN EY



    JARED M .STRAU SS
    A SSISTAN T U N ITED STATES A TTO RN EY


                                      (I..JJl-r.u,,)
% .: .JossNlcldot-s
    TRIAL A TTO RN EY ,U .S.D EPA RTM EN T OF JU STICE
  Case 0:18-cr-60073-WPD Document 1 Entered on FLSD Docket 03/22/2018 Page 7 of 8
                          IJNITED STA TES DISTRICT CO URT
                          SOUTH ERN DISTRICT OF FLO W DA

UNITED STA TES O F A M ER IC A                                CA SE NO .
VS.
                                                              CERTIFICATE OF TRIM .ATTORNEY *
R AYM O ND O DIGIE UADIALE,
 a/k/a RM ikeRoland,''
                          Defendant.
                                            /                 Superseding Case Inform ation:


CourtDivision:(SelectOne)                                     New Defendantts)           Yes           No
                                                              Num berofNew Defendants
       M iami             Key W est -                                Totalnumberofcounts       2
       FTL 7F-            MTB               FTP
       ldo hereby certifythat:
       1.      Ihavecarefullyconsideredtheallegationsoftheindictment,thenumberofdefendants,thenumberofprobable
               witnessesandthelegalcomplexitiesoftheIndictm ent/lnform ation attached hereto.
                lam awarethattheinformation supplied on thisstatementwillbe relied uponby the JudgesofthisCourtin
                settingtheircalendarsand schedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.
                Section3161.

                Intemreter:      (YesorNo)           No
                Listlanguageand/ordialect
                Thiscasewilltake            A-5   daysforthepartiestotry.
                Pleasecheckappropriatecategoryandtypeofoffenselistedbelow:
                (Checkonlyone)                                      (Checkonlyone)
       I        0 to 5 days             X                           Petty
       11       6 to 10 days                                        M inor
       IIl      1l to 20 days                                       M isdem .
       IV       21 to 60 days                                       Felony           X
       V        61daysand over

       6.       HasthiscasebeenpreviouslyfiledinthisDistrictCourt?              NO       (YesorNo)
       lfyes:
       Judge:                                                    CaseNo.
       Hasacomplain(tAt
                     be
                      ta
                       ec
                        nhfi
                           clo
                             ep
                              dyinotfhdisisma
                                           postitiveordervo
                                               ter?            (YesorNo)
       Ifyes:
       M agistrateCaseNo.
       RelatedM iscellaneousnum bers:
       Defendantts)infederalcustodyasof
       Defendantts)instatecustodyasof
       Rule20 from theDistrictof
       Isthisapotentialdeathpenaltycase?           NO           (YesorNo)
                Doesthiscaseoriginate from a matterpending in theN orthern Region ofthe U.S.Attorney'sO ffice priorto
                October14,2003?         Yes     X                No

       8.       Doesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.Attorney'sOfficepriorto
                September1,2007?                 Yes       X      No


                                                              JARED M .STRAU SS
                                                              A SSISTAN T IJNITED STATES ATTORN EY
                                                              Florida BarNo./courtNo.A5501264
PenaltySheetts)attached                                                                              REv4/8/08
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                              UNITED STATES DISTRICT CO URT
                              SO UTH E RN DISTR ICT O F FLO R IDA

                                            PEN A LTY SH EET



D efendant'sN am e:M YM O N D O DIGIE UA DIA LE . a/k/a RM ike Roland''

C ase N o:

Count #:1

   Conspiracy To Com m itM oney Laudering

   ln violation ofTitle 18.United StatesCode. Section 195641:)

*M ax.Penalty: Twenty(20)years'imprisonment;$500,000fine, andthree(3)years'supervisedrelease.
Count #:2

  s4oney Laundehng

  lnviolation ofTitle 18.United StatesCode. Section 1956(a)(1)(B)(i)

*M ax.Penalty: Twenty (20)years'imprisonment;$500,000fine,andthree(3)years'supervisedrelease               .



Count #:3




*M ax.Penalty:

Cotm t #:4




*A1ax.Penalty:
   *Refers cnly te possible term ef incaroeration. dees n:t include pcssible fines. restitutien. special
   assessments, parele terms or forfeitures that may be applioable.
